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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10    PAMELA FOX KUHLKEN,                              Case No.: 3:16-CV-2504-CAB-DHB
11                                    Plaintiff,
                                                       ORDER ON EX PARTE MOTIONS
12    v.                                               TO ALLOW CONVENTIONAL
                                                       FILING OF AUDIO EXHIBITS and
13    COUNTY OF SAN DIEGO, SAN
                                                       MOTION FOR LEAVE TO FILE
      DIEGO SHERIFFS DEPUTY D. SMITH
14                                                     EXCESS PAGES
      (Id # 1024) and DOES 1-5,
                                                       [Doc. Nos. 26, 27.]
15                                 Defendants.
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17          On December 12, 2017, Plaintiff filed an ex-parte motion for leave to
18   conventionally file a CD in support of her Opposition to Defendants’ Motion for Summary
19   Judgment. [Doc. No. 27.] On December 12, 2017, Plaintiff also filed an ex-parte motion
20   for leave to file excess pages in support of her Opposition to Defendants’ Motion for
21   Summary Judgment [Doc. No. 26] that Defendants do not oppose. Good cause appearing,
22   the Court HEREBY GRANTS both motions.
23         It is SO ORDERED.
24   Dated: December 14, 2017
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